Case 4:19-cv-00114-GKF-CDL Document 7 Filed in USDC ND/OK on 10/29/19 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

  (1)    DAVID RUBLE, II,                                )
                   Petitioner,                           )
                                                         )
  -vs-                                                   )    Case No. 19-CV-114-GKF-FHM
                                                         )
  (1)    JOE ALLBAUGH 1, DIRECTOR                        )
                  Respondent                             )

                   PETITIONER’S MOTION FOR LEAVE TO FILE AN
                  AMENDED PETITION PURSUANT TO FED. R. CIV. P. 15

         COMES NOW, the Petitioner by and through counsel, Debra K. Hampton, hereby submits

  this as “Petitioner’s Motion for Leave to File an Amended Petition pursuant to Fed. R. Civ. P. 15.

  In support thereof, Petitioner states the following:

         1.      Petitioner retained the undersigned on October 28, 2019, and states this Motion is

  being made in the interest of justice to allow counsel time to adequately investigate and prepare

  an Amended Petition.

         2.      This request is not being made to cause any undue delay as Counsel must have time

  to adequately and competently represent the interest of the Petitioner. Counsel is requesting 30

  days from the date of the Court’s expected Order to file an Amended Petition.

         3.      The Petitioner’s claims appear to be meritorious and after a review of the initial

  docket in Case No. 19-CV-114-GKF-FHM there are various documents to review and a state court

  record of 1676 pages in length.




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   Joe Allbaugh resigned from his position as Director of the Oklahoma Department of
  Corrections on June 12, 2019. Scott Crow has been named as the Interim Director and
  should be substituted for Allbaugh.

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Case 4:19-cv-00114-GKF-CDL Document 7 Filed in USDC ND/OK on 10/29/19 Page 2 of 3




         4.      The Respondent has filed an Entry of Appearance but has not filed a responsive

  pleading.

         5.      This Motion is timely.


                                 ARGUMENT AND AUTHORITY

         The Petitioner seeks leave to file an Amended Petition for Habeas Relief under Fed. R.

  Civ. P. 15 (a)(2) which provides for amendments; In all other cases, a party may amend its pleading

  only with the opposing party’s written consent or the court’s leave. The Court “should freely give

  leave when justice so requires.” Petitioner also asserts that under Fed. R. Civ. P. 15 (c)(1)(B) would

  allow for an amendment on Relation Back of Amendments, that provides: (B) the amendment

  asserts a claim or defense that arose out of the conduct, transaction, or occurrence set out—or

  attempted to be set out—in the original pleading.


                                            CONCLUSION

         WHEREFORE, Petitioner asserts that he is being held unlawfully in violation of the due

  process clause and leave to amend should be freely given when justice so requires. Minter v. Prime

  Equip. Co., 451 F.3d 1196, 1205 n. 4 (10th Cir. 2006). Petitioner’s request for leave to amend is

  made in the interest of justice and will not cause undue prejudice to the Respondent nor is

  amending the Petition futile. See Foman v. Davis, 371 U.S. 178, 83 S.Ct. 227, 9 L.Ed.2d 222

  (1962). Petitioner respectfully moves this Court to grant his Motion for Leave to File an Amended

  Petition where justice so requires.

         IT IS SO PRAYED.




                                                   2
Case 4:19-cv-00114-GKF-CDL Document 7 Filed in USDC ND/OK on 10/29/19 Page 3 of 3




                                                      Respectfully Submitted,


                                                      /s/ DEBRA K. HAMPTON
                                                      DEBRA K. HAMPTON, OBA # 13621
                                                      Hampton Law Office, PLLC
                                                      3126 S. Blvd., # 304
                                                      Edmond, OK 73013
                                                      (405) 250-0966
                                                      (866) 251-4898 (fax)
                                                      hamptonlaw@cox.net
                                                      Attorney for Petitioner


                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of October, 2019, I electronically transmitted the
  attached document to the Clerk of Court using the ECF System for filing. Based on the records
  currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
  ECF registrant:

  Office of the Attorney General, e-mail: fhc.docket@oag.state.ok.us
  Tessa L. Henry, Assistant Attorney General tessa.henry@oag.ok.gov

         I hereby certify that on this 29th day of October, 2019, I served the attached document by
  mailing to the Petitioner as he is not registered participants of the ECF System:

   David Ruble II # 744537
   Lawton Correctional Facility
   8607 SE Flower Mound Road
   Lawton, OK 73501
                                                      /s/ DEBRA K. HAMPTON
                                                      DEBRA K. HAMPTON




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